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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. : Criminal Action No.: 21-0687 (RC)
DAVID CHARLES RHINE,

Defendant.

VERDICT OF THE JURY

We, the members of the jury, find defendant David Charles Rhine:

CU LT 7 of the offense charged in Count 1 of the Information (Entering
“Not Guilty” or “Guilty” and Remaining in a Restricted Building or Grounds)

t ALT % of the offense charged in Count 2 of the Information (Disorderly
“Not Guilty” or “Guilty” and Disruptive Conduct in a Restricted Building or Grounds)

¢ UELT T of the offense charged in Count 3 of the Information (Disorderly
“Not Guilty” or “Guilty” Conduct in a Capitol Building or Grounds)

 

¢ MILF 7 of the offense charged in Count 4 of the Information (Parading,
“Not Guilty” or “Guilty” Demonstrating, or Picketing in a Capitol Building)

Signed this 27 day of Ati / 2023.

Foreperson

 
